                              UNITED STATES DISTRICT COURT
                                   DISTRICT OF MAINE


UNITED STATES OF AMERICA                         )
                                                 )
                v.                               )               No. 2:17-cr-00117-NT
                                                 )
MST MINERALIEN SCHIFFAHRT                        )
SPEDITION UND TRANSPORT                          )
GMBH                                             )



                             GOVERNMENT’S RESPONSE
                        TO MOVANTS’ MOTION FOR APPS AWARD

        The United States, by and through undersigned counsel, respectfully submits this

response to Movants’ Motion for Relief and an Award Pursuant to 33 U.S.C. § 1908(a). For the

reasons set forth below, 1 the government recommends that the Court not grant any award or to

limit the award only to Jaroslav Hornof, one of three movants employed aboard defendant’s M/V

MARGUERITA, a Liberian registered commercial vessel. 2 In the event that the Court grants Mr.

Hornof an APPS award, then the government respectfully submits that it should take into

account that he did not notify the government, and limit the award to less than the 50 percent

maximum authorized.


1
 The government has sought leave to file a Government’s Factual Appendix with supporting citations and
exhibits. The exhibits also contain certain documents requested by movants.

2
  At sentencing, the Court indicated that it was inclined to view only one of the witnesses, Jaroslav
Hornof, as potentially qualifying for an APPS award. The United States agrees and addressed this issue in
its sentencing memorandum and response to the movants motion to be declared crime victims and thus,
we have not addressed herein the renewed claims of Messrs. Zak and Kordic. Neither of these individuals
reported the crimes and both were participants. Similarly, this response does not address the spurious and
legally unsupported claims by the movants that: (1) the court should grant each movant an amount equal
to half of the APPS fine resulting in an amount that would total more than the statutory maximum
permitted; and (2) that the Court should grant the movants an award from the fine apportioned to the
obstruction count.
       Movants’ pending motion does not address an issue raised by the government at the

sentencing concerning the apparent effort of movants’ counsel, to take a contingency fee from

any award that this Court might grant. Because there is no pending motion concerning the

contingency fee, and because of the page limit for this opposition, the government is filing a

separate motion. Following the First Circuit decision in U.S. v. Overseas Shipholding Group,

Inc., 625 F.3d 1 (1st Cir. 2010) (“OSG”) (finding an APPS contingency fee to be unreasonably

excessive but not unethically excessive) and the decision in U.S. v. Efploia Shipping Co., S.A.,

D.Md., No. 1:11-cr-00652-MJG Doc. 80 (April 25, 2016), and the reasons therein, the

government recommends that the Court prohibit any contingency fee because it would be

contrary to the goals of APPS and unethically excessive, or at least unreasonably so.



                               Discretion to Grant an APPS Award

       The criminal penalty provision in APPS authorizes payment of an award to a person

giving information leading to a conviction: “In the discretion of the Court, an amount equal to

not more than ½ of such fine may be paid to the person giving information leading to

conviction.” 33 U.S.C. § 1908(a). In so doing, Congress did not intend that any person meeting

this standard should receive an award. Rather, Congress left the decision to the Court’s

discretion taking into consideration all of the facts.

       APPS is the domestic law that implements two international law treaties together referred

as MARPOL 73/78, an international treaty to which the United States is a party. The goal of

MARPOL is nothing less than the “complete elimination of all intentional pollution of the

marine environment.” MARPOL Preamble.
       APPS does not specifically restrict awards to persons that did not report directly to the

government as is the case in SEC context. 3 However, except in very unusual cases, that is

clearly what was envisioned and that is what has happened in the vast majority of prior APPS

prosecutions. In U.S. v. Overseas Shipholding Group, Inc., 625 F.3d 1 (1st Cir. 2010) the First

Circuit observed that “[t]he whole purpose of the discretionary award to whistleblowers under

this statute is to create incentives for the whistleblower to take risks that may disadvantage the

whistleblower in relationship to his employer.” Id. at 9. This statutory goal can best be achieved

by placing emphasis on recognizing those that inform the government about crimes that would

otherwise go undetected since only the government has the prosecutorial authority to charge

violations that result in monetary penalties. APPS provides for felony prosecution of knowing

violations which thereby provide specific and general deterrence.

       The award provision has served a valuable law enforcement purpose and helped to

benefit mariners who have risked their livelihood to report this crime to the government. The

government’s success in identifying the activity and obtaining sufficient evidence to support

investigations and prosecutions is partly based upon the willingness of lower level crew

members not only to report crime, but to continue to cooperate during the investigation and

prosecution. A monetary award both rewards the crew member and has the potential to

encourage others to step forward. Similarly, the award provision acts a deterrent to unscrupulous

vessel owners and operators knowing that crewmembers have an incentive to report illegal acts

to the government.



3
 See 15 U.S.C. § 78u-6(a)(6) a “whistleblower” is defined as “any individual who provides…information
relating to a violation of the securities laws to the Commission, in a manner established, by rule or
regulation, by the Commission.” See also Digital Realty Trust, Inc. v. Somers, 138 S.Ct. 767 (2018)
(emphasis added).
                                               Facts

        Mr. Hornof was apparently motivated by his opposition to the criminal conduct and is

not known to have participated in any illegal discharges aboard this vessel. Doc. 67, 9-25. It is

undisputed that the information and evidence he provided to his employer, and which was

subsequently obtained by the United Sates, formed the basis for the charges in the indictment

and that it was a key to obtaining a conviction. Accordingly, the government agrees with the

characterization in paragraph 10 of the Movant’s motion. [Doc. 169]. When the Coast Guard

learned that the third engineer that had made an internal report to the company was aboard the

vessel in Portland, inspectors sought him out for questioning. Prior to this time, Mr. Hornof had

taken no affirmative action to contact the government. He was nevertheless very cooperative and

continued to be helpful during the continuing inspection that lasted several days. Doc. 67.

       However, Mr. Hornof did not to report to the government prior to the ship’s arrival in

Maine and made no self-initiated report once the ship arrived. Based on its communications with

him, the company believed he would remain local and not report to the Coast Guard. An internal

email from MST Superintendent to MST Managing Director stated that Hornof “has no intention

to report to the U.S. Coast Guard[s].” Exhibit (“Ex.) 1. The email continued, “He … remains

loyal, but Green oriented.” Id. Mr. Hornof’s statements to the Coast Guard in Portland confirm

his original intention to protect the company. Id. In his deposition, Mr. Hornof stated that he was

inclined to hide the violations since the problem had been corrected. Doc. 67, at 84. In summary,

the evidence shows that Mr. Hornof had no intent to report the crimes to the government, but did

cooperate once he was approached and asked questions the Coast Guard.

       His decision not to notify the government is particularly troubling because his employer

was a recidivist on probation for essentially the same crimes. The Coast Guard was seriously
disadvantaged by not having his specific information prior to the ship’s arrival. Had the

government or Court in Minnesota known the full nature and extent of the evidence instead of a

misleading and self-serving summary provided by MST, it could have prevented the ship from

entering port or sought to violate the defendant’s probation in Minnesota.

       Despite his early and significant cooperation during the Coast Guard inspection, Mr.

Hornof ceased to cooperate as soon as he came to be represented by Edward MacColl, who was

present during portions of the Coast Guard inspection as a representative of the owner, operator

and insurers, but was eventually retained to represent all of the crewmembers including Mr.

Hornoff. As the record reflects and the Court has recognized, the movants and their counsel

sought to frustrate the investigation and prosecution in numerous ways and in numerous

pleadings. Accordingly, the government disagrees with paragraph 14 of the motion alleging that

Mr. Hornof (and the other movants) “fully and completely cooperated” with the government’s

subsequent investigation.

                                             Analysis

       The government respectfully submits that the following facts and reasonable inferences

based on those facts provide a basis for the Court to: (a) not grant Mr. Hornof any award; or (b)

to significantly limit the amount of that award.

   1. Mr. Hornof did not report to U.S. authorities, but responded to questions once the
      Coast Guard initiated an inspection. He did not see the need to tell the
      government or seek to aid a criminal prosecution, admitting that that he would not
      have made any report to law enforcement since the environmental problem had
      been resolved. Doc. 67, at 27. MST understood that Hornoff was loyal and would
      not report the crimes to the Coast Guard. Ex. 1.

   2. Mr. Hornof has already been compensated by MST and given a $20,000 bonus
      reward for reporting internally. Sentencing Transcript at 6 (September 6, 2018).
3. Mr. Hornof’s decision not to report directly to the government enabled MST to
   selectively disclose certain facts, and apply for non-prosecution under the Coast
   Guard’s voluntary disclosure policy prior to the ship’s arrival in Portland, Maine.
   Doc. 30-7. Had the Coast Guard granted this request based on the incomplete
   disclosure, the true facts may never have become known or referred for criminal
   prosecution. Additionally, by not reporting directly to the government, certain
   evidence was lost and never retrieved. For example, Hornof took samples that
   were never obtained by the government; the offending Chief Engineer
   (Babarovic) as well as other engineers departed the vessel before arriving in the
   U.S.; and oil contaminated tanks were cleaned prior to arriving in the U.S. that
   would have provided physical evidence proving the criminal conduct.

4. Mr. Hornof did not report the crimes to the authorities in Canada or Brazil, both
   which could have detained the vessel and/or arrested the Chief Engineer and taken
   civil and/or criminal enforcement action against the owner/operator.

5. When questioned by the Coast Guard on board the ship in Portland, Mr. Hornof
   indicated that his decision not to report to the Coast Guard was intentional, though
   he apparently thought that MST would do so and expressed frustration that it had
   not. Ex. 8-12. Mr. Hornof stated to the boarding officers that perhaps he should
   have reported to the Coast Guard because the company had not been responsive to
   him. Ex. 12.

6. Mr. Hornof engaged in numerous uncooperative acts by and through his attorney,
   including but not limited to: filing pleadings alleging that the government had
   acted illegally; contesting U.S. jurisdiction; that he had no evidence of a U.S.
   violation; refusing to voluntarily remain in the United States thus necessitating the
   filing of material witness; filing multiple challenges to the material witness
   warrant; filing motions seeking pre-indictment rule 15 depositions before any
   defendant was charged or provided discovery; filing multiple motions to quash his
   trial subpoena; linking financial payment to his willingness to return for trial; and
   challenging both plea agreements.

7. During his sworn and immunized testimony, Mr. Hornof refused to answer
   government questions regarding other vessels or other individuals. Doc. 67 at 12.

8. In his deposition testimony given on September 11, 2017, Mr. Hornof admitted he
   was trying to keep the illegal conduct a secret: “I was trying to hide it because I
   said, well, why would we admit it now; we can clean up everything; we do
   everything properly and nobody needs to know.” Doc. 67, at 121.

9. After the Court rejected the first plea agreement, Mr. Hornof requested through
   counsel assurance that he would receive a financial payment or an award thereby
   undermining his credibility at trial. See, e.g., Exs. 18-19.
       There are several factors that distinguish this case from the bulk of whistleblower cases.

Most crewmember witnesses have done the following, none of which Mr. Hornof did: (1) report

directly to the government without delay; (2) continue to cooperate throughout the investigation

and prosecution; (3) voluntarily remain in the United States during the pendency of the

investigation to both continue to cooperate and in order to help secure a prompt trial or

settlement by their continued availability; (4) make themselves freely available to prepare for

testimony in grand jury, Rule 15 depositions and trial; and (5) answer all questions truthfully

regardless of whether it reflects poorly on themselves or others.

       As noted above, this opposition does not address the merits of movants Zak and Kordic.

However, the government observes that the arguments advanced in their favor would result

granting an APPS award to a large number of mere witnesses in every maritime prosecution,

including even cooperating defendants.

       Just as it is true that the information and evidence provided by Mr. Hornof was important

to achieving a conviction, his refusal to provide firm assurance that he would be available as a

trial witness seriously undermined the government’s settlement posture and confidence in taking

the case to trial. This was not lost on MST’s counsel. The ultimate result in the case reflects

many factors, but it is possible that a different outcome may have resulted if Mr. Hornof had

fully cooperated in the investigation and prosecution.

       Granting a full award to Mr. Hornof would send an adverse message to the maritime

industry and seafaring community that could undermine a principle way in which this crime is

brought to justice. The best message that the Court could send is that to be favorably (or at least

most favorably) considered for an APPS award, the report must be made to law enforcement

before (or at the same time) it is brought to the company’s attention, and that failure to notify the
government may be an adverse factor. Failure to encourage reporting to the government could

undermine the environmental goals of APPS and MARPOL.

        Defendant MST’s counsel, whose practice focuses on precisely this type of prosecution,

has previously argued against whistleblower awards in other cases on the basis that the

whistleblower did not report to the company. See, e.g., U.S. v. MST Mineralien Schiffahrt

Spedition und Trasport GmbH, D., D.MN, No. 16-cr-00134-JNE-LIB, Doc. 70. There is a small

bar of criminal defense lawyers advising and defending similar cases that have advanced the

same argument. A ruling by this Court that grants any award to Hornof, let alone the maximum,

has the potential to have an adverse impact because it will be used to suggest that crewmembers

should not inform the government or engage in the type of unhelpful conduct that took place in

this case.

                                           Conclusion

        Mr. Hornof made an internal report and did not seek to notify the United States of

deliberate and serious violations of the law. Once contacted by law enforcement, he provided

truthful and helpful information, but this was then undermined by numerous acts. Accordingly,

the United States recommends that the movants motion for an APPS award be denied.

Alternatively, if the Court grants some award to Mr. Hornof, then the government recommends it

be a modest amount and expressly linked to the fact that he did not make a report to law

enforcement.


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                                            Respectfully submitted,


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Date: November 16, 2018                     /s/ Richard A. Udell
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                               CERTIFICATE OF SERVICE
       I hereby certify that I have filed the foregoing Motion for Leave to File Factual Appendix

and Attachments with the Clerk of Court and all counsel of record via the Court’s ECF system.




                                                    /s/ Richard A. Udell
Date: November 16, 2018                             Richard A. Udell
                                                    Environmental Crimes Section
                                                    United States Department of Justice
